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                                 UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF WEST VIRGINIA
                                             CHARLESTON DIVISION
----------------------------------------------------------- x
IN RE ETHICON, INC., PELVIC REPAIR                           : CIVIL ACTION NO. 2:12-md-02327
SYSTEM PRODUCTS LIABILITY                                    : MDL No. 2327
LITIGATION                                                   :
------------------------------------------------------------ : Judge Joseph R. Goodwin
This Document Applies To All Actions                         :
------------------------------------------------------------ X

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                       PLAINTIFFS’ CERTIFICATE OF SERVICE OF
                FIRST AMENDED NOTICE TO TAKE ORAL DEPOSITION OF
                                DR HARLAN WEISMAN

        I hereby certify that on October 29, 2013, I served Plaintiff’s First Amended Notice to

Take Oral Deposition of Dr. Harlan Weisman via email and the foregoing document was

electronically filed with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the CM/ECF participants registered to receive service in this MDL.

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